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                                     UNITED STATES DISTRICT COURT
 7
                                            EASTERN DISTRICT OF CALIFORNIA
 8
 9   JOHNNY SALDATE,                                           )     1:07-CV-00309 AWI GSA HC
                                                               )
10                                 Petitioner,                 )     ORDER ON RESPONDENT’S SECOND
                                                               )     EXPEDITED STAY REQUEST
11                                                             )
              v.                                               )     (Doc. No. 20)
12                                                             )
                                                               )
13   DERRAL ADAMS, Warden,                                     )
                                                               )
14                                 Respondent.                 )
                                                               )
15
16            On July 10, 2008, the Court granted Petitioner’s request for a writ of habeas corpus. The
17   Court reviewed the BPH’s denial of a parole date, determined that the decision was not supported by
18   “some evidence,” and ordered the BPH to set a parole date within 30 days.1 See Court’s Docket
19   Doc. No. 14. Respondent requested that the Court issue a stay pursuant to Federal Rule of Civil
20   Procedure 62(c). See Court’s Docket Doc. No. 16. The Court denied the motion as premature
21   because an appeal had not yet been filed. See Court’s Docket Doc. No. 18. Respondent filed a
22   second expedited request2 for Rule 62(c) stay and then subsequently filed a notice of appeal.
23            Respondent argues that a stay should be issued because: (1) it has a strong likelihood of
24   success on appeal because this Court impermissibly re-weighed evidence and no Supreme Court
25   precedent creates either a liberty interest in a parole date or requires that a denial of a parole date be
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              1
               Respondent chooses to characterize the order as follows: “Respondent request [sic] a stay of this Court’s order
27   requiring the [BPH] to disregard its statutory duty to determine whether an inmate is suitable for parole and to calculate a
     term for a convicted murderer pending appeal.”
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              2
                  Respondent seeks an expedited ruling so that it will have time to seek relief with the Ninth Circuit, if necessary.

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 1   supported by “some evidence;” (2) a stay would not substantially injure Petitioner because he has an
 2   indeterminate life sentence; (3) Petitioner would be irreparably harmed because issuance of a parole
 3   date usurps legislative mandates; (4) the public has an interest in ensuring that decisions by the BPH
 4   remain undisturbed; and (5) the forthcoming en banc Ninth Circuit decision in Hayward may decide
 5   whether jurisdiction is appropriate in parole cases and what standard may apply; further the Ninth
 6   Circuit has stayed several cases pending the decision in Hayward. Petitioner opposes the Rule 62(c)
 7   request.
 8          Legal Standard
 9          Through Federal Rule of Civil Procedure 62(c), a district court “retains jurisdiction during
10   the pendency of an appeal to act to preserve the status quo.” Natural Resources Defense Council,
11   Inc. v. Southwest Marine, Inc., 242 F.3d 1163, 1166 (9th Cir. 2001). “Rule 62(c) does not restore
12   jurisdiction to the district court to adjudicate anew the merits of the case,” and the “district court’s
13   exercise of jurisdiction should not materially alter the status of the case on appeal.” Mayweathers v.
14   Newland, 258 F.3d 930, 935 (9th Cir. 2001); Southwest Marine, 242 F.3d at 1166. In relevant part,
15   Rule 62(c) reads:
16          (c) Injunction Pending Appeal. When an appeal is taken from an interlocutory or final
            judgment granting, dissolving, or denying an injunction, the court in its discretion
17          may suspend, modify, restore, or grant an injunction during the pendency of the
            appeal upon such terms as to bond or otherwise as it considers proper for the security
18          of the rights of the adverse party. . . .
19   Fed. R. Civ. P. 62(c).
20          “A party seeking a stay of a lower court’s order bears a difficult burden.” United States v.
21   Private Sanitation Indus. Ass'n of Nassau/Suffolk, Inc., 44 F.3d 1082, 1084 (2d Cir. 1994). District
22   courts consider four factors in ruling on Rule 62(c) motions: “(1) whether the stay applicant has
23   made a strong showing that he is likely to succeed on the merits; (2) whether the applicant will be
24   irreparably injured absent a stay; (3) whether issuance of the stay will substantially injure the other
25   parties interested in the proceeding; and (4) where the public interest lies.” Hilton v. Braunskill, 481
26   U.S. 770, 776 (1987); United States v. 1020 Elect. Gambling Mach., 38 F.Supp.2d 1219, 1220 (E.D.
27   Wash. 1999); Overstreet ex rel. NLRB v. Thomas Davis Medical Ctrs., P.C., 978 F. Supp. 1313,
28   1314 (D. Ariz. 1997); Texaco Ref. & Mktg. v. Davis, 819 F.Supp. 1485, 1486 (D. Or. 1993); Miller


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 1   v. Carlson, 768 F.Supp. 1341, 1342 (C.D. Cal. 1991). “This standard for evaluating the desirability
 2   of a stay pending appeal is quite similar to that which the Court employ[s] in deciding to grant [a]
 3   preliminary injunction.” Miller, 768 F.Supp. at 1342 (citing Lopez v. Heckler, 713 F.2d 1432, 1435
 4   (9th Cir. 1983)). With respect to irreparable injury, speculative injury does not constitute irreparable
 5   injury. See Goldie's Bookstore v. Superior Ct., 739 F.2d 466, 472 (9th Cir. 1984). Rather, a plaintiff
 6   must demonstrate immediate threatened injury as a prerequisite to preliminary injunctive relief. See
 7   Caribbean Marine Services Co. v. Baldridge, 844 F.2d 668, 674 (9th Cir. 1988). In evaluating the
 8   harm that will occur depending upon whether the stay is granted, a court may consider: “(1) the
 9   substantiality of the injury alleged; (2) the likelihood of its occurrence; and (3) the adequacy of the
10   proof provided.” Michigan Coalition of Radioactive Material Users, Inc. v. Griepentrog, 945 F.2d
11   150, 153 (6th Cir. 1991).
12          Discussion
13          After reviewing the Hilton factors, the Court does not believe that a stay is appropriate.
14   Respondent has not made a sufficient showing that it is likely to succeed on appeal, has not
15   sufficiently shown irreparable injury, has not sufficiently shown that Petitioner will not be harmed,
16   and has not sufficiently shown that the public interest clearly lies in favor of a stay, such that a stay
17   should issue. With respect to Hayward, it is unknown when a ruling will be made, what issues will
18   be decided, or why the Ninth Circuit appears to be staying cases sua sponte. If this case fits within
19   the concerns that the Ninth Circuit has over Hayward, then it will grant a stay. However, that is an
20   issue for the Ninth Circuit. Here, Respondent has not adequately met its “difficult burden” of
21   showing that a stay of this Court’s order is necessary. See Hilton, 481 U.S. at 776; Private
22   Sanitation, 44 F.3d at 1084.
23
24          Accordingly, IT IS HEREBY ORDERED that Respondent’s Rule 62(c) motion is DENIED.
25
26   IT IS SO ORDERED.
27   Dated:     July 25, 2008                           /s/ Anthony W. Ishii
     0m8i78                                    CHIEF UNITED STATES DISTRICT JUDGE
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